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                                                                   ORDER GRANTING




LITTLER MENDELSON, P.C.
        Attorneys At Law
  3960 Howard Hughes Parkway
            Suite 300
   Las Vegas, NV 89169-5937
         702.862.8800
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                                                               UNITED STATES MAGISTRATE JUDGE




LITTLER MENDELSON, P.C.
        Attorneys At Law
  3960 Howard Hughes Parkway
            Suite 300
   Las Vegas, NV 89169-5937
         702.862.8800
